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  19   Incorporated
  20   [Additional counsel identified on
       signature page]
  21
                            UNITED STATES DISTRICT COURT
  22
                            SOUTHERN DISTRICT OF CALIFORNIA
  23
       QUALCOMM INCORPORATED,                     CASE NO. 3:17-cv-02398-DMS-MDD
  24
                    Plaintiff,                    QUALCOMM’S NOTICE OF
  25                                              MOTION AND MOTION TO
            vs.                                   ASSERT ADDITIONAL CLAIMS
  26                                              IN ITS PRELIMINARY
       APPLE INCORPORATED,                        INFRINGEMENT CONTENTIONS
  27
                    Defendant.                    Date:
  28                                              Time:
                                                  Place: Courtroom 13A
                                                                Case No. 3:17-cv-02398-DMS-MDD
                  QUALCOMM’S NOTICE OF MOTION AND MOTION TO ASSERT ADDITIONAL CLAIMS IN ITS
                                                    PRELIMINARY INFRINGEMENT CONTENTIONS
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                                               Judge: Dana M. Sabraw
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               QUALCOMM’S NOTICE OF MOTION AND MOTION TO ASSERT ADDITIONAL CLAIMS IN ITS
                                                 PRELIMINARY INFRINGEMENT CONTENTIONS
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   1                       NOTICE OF MOTION AND MOTION
   2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   3        Please take notice that as soon as it may be heard, in Courtroom 13A before the
   4 Honorable Dana M. Sabraw, Plaintiff Qualcomm Incorporated (“Qualcomm”) will
   5 and hereby does move the Court for an order permitting Qualcomm to assert three
   6 total claims from each of the ’356 patent, the ’674 patent, the ’002 patent, and the
   7 ’633 patent. The total number of asserted claims, under Qualcomm’s proposal, is
   8 twelve.
   9        This motion is supported by the accompanying Memorandum of Points and
  10 Authorities and such other written and oral argument and authorities that may be
  11 presented at or before the hearing of this motion.
  12         Qualcomm’s counsel provided notice regarding its intent to file this Motion
  13   on May 22, 2018. Apple has not taken a position regarding Qualcomm’s Motion.
  14
  15 DATED: May 22, 2018                By: s/ Michelle Ann Clark
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   1
                                CERTIFICATE OF SERVICE
   2
             I hereby certify that a true and correct copy of the above and foregoing
   3
       document has been served on May 22, 2018, to all counsel of record who are
   4
       deemed to have consented to electronic service via the Court’s CM/ECF system.
   5
             Executed on May 22, 2018, at San Francisco, California.
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                                                s/ Michelle Ann Clark
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                                                   PRELIMINARY INFRINGEMENT CONTENTIONS
